                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               WESTERN DIVISION


 CITY OF ROCKFORD
 on behalf of itself and
 all others similarly situated,
                                                        Civil Action No.: 3:17-cv-50107
                                  Plaintiff,
                                                        Judge Iain D. Johnston
         v.
                                                        Magistrate Judge Lisa A. Jensen
 MALLINCKRODT ARD, INC.,
 formally known as QUESTCOR
 PHARMACEUTICALS, INC.;
 MALLINCKRODT PLC; EXPRESS SCRIPTS
 HOLDING COMPANY; EXPRESS SCRIPTS,
 INC.; CURASCRIPT, INC., doing business as
 CURASCRIPT, SD; ACCREDO HEALTH
 GROUP, INC., and UNITED BIOSOURCE
 CORPORATION
                         Defendants.

                       DECLARATION OF WILLIAM H. PLATT II
                  IN SUPPORT OF PLAINTIFF CITY OF ROCKFORD’S
                   RENEWED MOTION FOR CLASS CERTIFICATION

       Pursuant to 28 U.S.C. § 1746, I, William H. Platt II, hereby declare under penalty of

perjury under the laws of the United States of America that the following is true and correct to

the best of my knowledge, information and belief.

       1.      I am counsel for Plaintiff the City of Rockford and the proposed Classes in this

case. I have personal knowledge of the matters stated herein, having litigated in this Court for

over six years. If called upon as a witness, I could and would competently testify thereto.

       2.      This Declaration is submitted in support of Plaintiff’s Renewed Motion for Class

Certification pursuant to Federal Rule 23.




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       3.      Attached hereto as Exhibit “A” is a true and correct copy of the Expert Report of

Dr. William S. Comanor dated July 18, 2022.

       4.      Attached hereto as Exhibit “B” is a true and correct copy of the Plantiffs’ Table of

Indirect Purchaser (Illinois Brick Repealer) States with legal authorities confirming each states’

indirect purchaser status (Illinois, Michigan, Tennessee and California).

       5.      Attached hereto as Exhibit “C” is a true and correct copy of the email string

between M. Cuthill, H. Beaudoin, S. Cartt, N. Black, R. Osborne, F. Olson, D. Medeiros, G.

Stuart, and D. Desmarais during the dates of August 23-24, 2007 and the attached Questcor

“Commercial Product Pricing List – WAC & AWP.”

       6.      Attached hereto as Exhibit “D” is a true and correct copy of the email

correspondence from J. Kates to B. Henry, and B. Bier on June 5, 2017 and the attached

Conference Call Transcript with Express Scripts Mgmt.

       7.      Attached hereto as Exhibit “E” is a true and correct copy of the email

correspondence from S. Cartt to E. Mayer on March 15, 2011 and the attached QCOR – RDSS

Workshop Draft Speaker Notes.

       8.      Attached hereto as Exhibit “F” is a true and correct copy of an email from S. Cartt

to himself on September 24, 2014 and his attached resume.

       9.      Attached hereto as Exhibit “G” is a true and correct copy of the email

correspondence from S. Cartt to D. Bailey on December 1, 2007 and the attached presentation

titled “Questcor Strategic Plan 2006-2011.”

       10.     Attached hereto as Exhibit “H” is a true and correct copy of the Questcor

presentation titled “Acthar Overview.”




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          11.   Attached hereto as Exhibit “I” is a true and correct copy of the email

correspondence from R. Osborne to K. Cast on July 14, 2014 and the attached presentation titled

“Specialty Service for H.P. Acthar Gel” given by Express Scripts to Questcor in May 2007.

          12.   Attached hereto as Exhibit “J” is a true and correct copy of the email string

between G. Stuart, D. Bailey, S. Cartt. F. Olson, D. Medeiros, and D. Desmarais on the dates of

July 6 and 12, 2007 and the attached Acthar Unit Sales “Transition Shipping Analysis.”

          13.   Attached hereto as Exhibit “K” is a true and correct copy of the email

correspondence from S. Cartt to D. Bailey. G. Lapointe, V. Thompson, A. Hasen, D. Young, E,

Liebler, S. Halladay, F. Olson, D. Medeiros, and G. Stuart on June 29, 2007 and the attached

Acthar Distribution Diagram.

          14.   Attached hereto as Exhibit “L” is a true and correct copy of the February 15, 2023

deposition transcript of Kevin Cast (FILED UNDER SEAL).

          15.   Attached hereto as Exhibit “M” is a true and correct copy of the February 24,

2023 deposition transcript of Robert Osborne (FILED UNDER SEAL).

          16.   Attached hereto as Exhibit “N” is a true and correct copy of the January 18, 2023

deposition transcript of Melissa Beatty (FILED UNDER SEAL).

          17.   Attached hereto as Exhibit “O” is a true and correct copy of the March 17, 2023

deposition transcript of Everett Neville (FILED UNDER SEAL).

          18.   Attached hereto as Exhibit “P” is a true and correct copy of the March 13, 2023

deposition transcript of Jason Camp (FILED UNDER SEAL).

          19.   Attached hereto as Exhibit “Q” is a true and correct copy of the email

correspondence from R. Osborne to K. Cast on July 14, 2014 and the attached document “Acthar

Final.”




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        20.   Attached hereto as Exhibit “R” is a true and correct copy of the email

correspondence from M. Close to S. Foster on October 10, 2014 and the attached Mallinckrodt

presentation on distribution titled “Mallinckrodt Pharmaceuticals Autoimmune and Rare Disease

Business.”

        21.   Attached hereto as Exhibit “S” is a true and correct copy of the email from S.

Cartt, F. Olson, D. Medeiros, G. Stuart, D. Desmarais, and L. Cohn on June 14, 2007 and the

email from R. Osborne to S. Cartt, N. Black, D. Desmarais and T. Andrade on June 14, 2007.

        22.   Attached hereto as Exhibit “T” is a true and correct copy of the email

correspondence from S. Cartt to R. Osborne, N. Black, D. Desmarais, and F. Olson on June 22,

2007.

        23.   Attached hereto as Exhibit “U” is a true and correct copy of the email

correspondence from R. Osborne to B. Martin, G. Johnston, L. O’Neal, J. Lord, S. Uder on May

28, 2015.

        24.   Attached hereto as Exhibit “V” is a true and correct copy of the email string

between B. Martin, R. Osborne, and D. Trane during the dates of December 8-9, 2020. (FILED

UNDER SEAL).

        25.   Attached hereto as Exhibit “W” is a true and correct copy of the March 15, 2023

deposition transcript of Andrew Behm (FILED UNDER SEAL).

        26.   Attached hereto as Exhibit “X” is a true and correct copy of the email string

between C. Lawyer, A. Ruiz, C. Vivod, and E. English on April 22, 2019.

        27.   Attached hereto as Exhibit “Y” is a true and correct copy of the Exclusive

Wholesale Product Purchase Agreement between Questcor Pharmacuticals, Inc. and CuraScript,

Inc. dated June 29, 2007, produced by Express Script.




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        28.     Attached hereto as Exhibit “Z” is a true and correct copy of the February 1, 2023

deposition transcript of Mike Mulroy (FILED UNDER SEAL).

        29.     Attached hereto as Exhibit “AA” is a true and correct copy of the Transcript of

Proceedings Before the Honorable Lisa A. Jensen on July 22, 2019.

        30.     Attached hereto as Exhibit “BB” is a true and correct copy of the November 10

and 11, 2022 deposition transcript of Hugh O’Neill (FILED UNDER SEAL).

        31.     Attached hereto as Exhibit “CC” is a true and correct copy of the September 21,

2022 deposition transcript of Timothy Wentworth (FILED UNDER SEAL).

        32.     Attached hereto as Exhibit “DD” is a true and correct copy of the email string

between C. Felish, H. O’Neill, T. Englese, N. McCutcheon, S. Loreaux, C. Hirt, J. Schafer, J.

Ringgenberg, A. Buonincontri, S. Romano, M. Santoro during the dates of August 25-26, 2018.

        33.     Attached hereto as Exhibit “EE” is a true and correct copy of the email string

between L. Newport, K. Henson, J. Efken, K. Penrod, P. Melland. T. Behrens, N. Hebbert, W.

Martin, R. Johnson, V. Tandon, R. Jones, and A. Norton between the dates of September 12-16,

2013.

        34.     Attached hereto as Exhibit “FF” is a true and correct copy of the email

correspondence from E. Neville to B. Bier, E. English, H. Brian, J. Kates, S. Miller, M. Akins, E.

Slusser, E. Adamcik on June 5, 2017 and the email correspondence from J. Luddy to H. Brian on

June 5, 2017.

        35.     Attached hereto as Exhibit “GG” is a true and correct copy of the email string

between S. Cartt, R. Osborne, F. Olson, D. Desmarais, and N. Black on June 22, 2007.




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        36.    Attached hereto as Exhibit “HH” is a true and correct copy of the Third

Amendment to the Exclusive Wholesale Product Purchase Agreement between Questcor

Pharmacuticals, Inc. and CuraScript, Inc. dated December 1, 2007, produced by Express Scripts.

        37.    Attached hereto as Exhibit “II” is a true and correct copy of a Mallinckrodt

presentation titled “Discussion Materials,” dated November 2013.

        38.    Attached hereto as Exhibit “JJ” is a true and correct copy of an email string, with

the last email from J. Luddy to A. Kautzner, A. Behm, C. Bitney, and B. Henry on May 7, 2018.

        39.    Attached hereto as Exhibit “KK” is a true and correct copy of the email string

between E. Neville, W. Barnes, S. Miller, A. Bricker, A. Kautzner, and M. Baum on April 28,

2016.

        40.    Attached hereto as Exhibit “LL” is a true and correct copy of the email string

between W. Barnes, M. Baum, A. Boll, P. Goldsmith, B. Slen, J. Saipe, E. Neville between the

dates of June 5-26, 2017.

        41.    Attached hereto as Exhibit “MM” is a true and correct copy of the email string

between A. Adler and A. Kautzner, W. Barnes, M. Baum, A. Boll, D. Saadeh, A. Kautzner, A.

Behm between the dates May 7-18, 2018.

        42.    Attached hereto as Exhibit “NN” is a true and correct copy of the correspondance

between A. Behm, J. Noehren, and J. Dohm on May 22-23, 2018.

        43.    Attached hereto as Exhibit “OO” is a true and correct copy of the email

correspondence between B. Henry, T. Wentworth, B. Miller on December 8-9, 2015.

        44.     Attached hereto as Exhibit “PP” is a true and correct copy of a summary and

description of the “Class Action Practices" of the lawyers and law firms representing the

Plaintiff and the Class.




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       I am aware that if any of the foregoing statements made by me are willfully false, that I

am subject to punishment.



Dated: May 26, 2023                           By:   s/ William H. Platt II.
                                                    William H. Platt II




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